                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                       Plaintiff,

        v.                                                    Case No. 07-CR-88

JEREMY J. HANNA,

                       Defendant.


                                             ORDER


        Defendant Jeremy Hanna was convicted of conspiracy to distribute methamphetamine, and

in a Judgment entered on November 21, 2007, was sentenced to 130 months in the custody of the

Bureau of Prisons. On June 9, 2008, an Amended Judgment was entered reducing his sentence to

80 months, with 60 months of supervised release. This supervision commenced on September 28,

2012.

        Between May of 2013 and January of 2014, Hanna tested positive for methamphetamine on

three separate occasions. After the initial positive he was referred for outpatient substance abuse

treatment, and after the third his frequency of treatment was increased and he was placed on location

monitoring. When Hanna continued to submit positive test results or samples that were too dilute

for testing, the court issued a notice to appear for a scheduled revocation hearing.

        Hanna was provided several additional opportunities to comply with conditions of

supervision but ultimately failed. Despite repeated warnings, he continued to test positive for

methamphetamine. On February 17, 2016, his supervised release was revoked and he was




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sentenced to 6 months in the custody of the bureau of prisons. Hanna has now filed a motion to

reduce his sentence pursuant to 18 U.S.C. § 3582(c)(2). He claims he is entitled to a reduction in

his sentence based upon the action of the Sentencing Commission reducing by two levels the

offense severity score for certain drug offenses.

       Application Note 4(A) to U.S.S.G. § 1.B1.10 forecloses Hanna’s argument that he is entitled

to a reduction. The Application Note states: “This section does not authorize a reduction in the

term of imprisonment imposed upon revocation of supervised release.” Virtually the same

argument was rejected by the Seventh Circuit in U.S. v Forman, 553 F.3d 585, 588-89 (7th Cir.

2009); see also United States v Fontenot, 583 F.3d 743, 744 (10th Cir. 2009). (“Amendment 706

has no bearing on [defendant’s] current term of incarceration; that sentence is based upon Mr.

Fontenot’s noncompliance with the terms of his supervised release, not on the drug quantity tables

set forth in U.S.S.G. § 2D1.1(c).”) The same is true here. Hanna’s current incarceration is due not

to his original sentence, but to his repeated violations of the conditions of his supervised release.

Section 3582(c)(2) and the reductions in the base levels in the drug quantity table do not provide

a vehicle for relief. Accordingly, his motion for a reduction of his sentence must be denied.

       SO ORDERED this            10th     day of May, 2016.



                                                s/ William C., Griesbach
                                               William C. Griesbach, Chief Judge
                                               United States District Court




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